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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :      Criminal No. 17-cr-201-1 (ABJ)
                   v.                            :
                                                 :
PAUL J. MANAFORT, JR.,                           :
                                                 :
                        Defendant.               :


                                  NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Assistant United States Attorney Jonathan Kravis, at telephone

number 202-252-6886, hereby informs the Court that he is entering his appearance as co-counsel

in this matter on behalf of the United States.


                                                 Respectfully submitted,

                                                 JESSIE K. LIU
                                                 United States Attorney
                                                 D.C. Bar No. 472845



                                       BY:       /s/ Jonathan Kravis
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